                           Case 1:10-cr-00080-DAD-BAM Document 92 Filed 05/11/12 Page 1 of 1


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8                                               UNITED STATES DISTRICT COURT
9                                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   THE UNITED STATES OF AMERICA,                                   Case No. 10-CR-0080 AWI
12                                             Plaintiff,            ORDER TO MODIFY CONDITIONS OF
                                                                     PRETRIAL RELEASE TO ALLOW
13                           vs.                                     TRAVEL
14   YONG TAE KIM,
15

16                                             Defendant.
17                           GOOD CAUSE HAVING BEEN SHOWN IT IS HEREBY ORDERED THAT Mr. Kim’s

18   condition of pretrial release be modified so that Mr. Kim may travel to Nevada during May 25, 2012

19   through May 28, 2012 for a family vacation. Mr. Kim shall inform his Pretrial Services officer with

20   his dates of travel and itinerary. All other conditions of release previously ordered shall remain the

21   same.

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     IT IS SO ORDERED.
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     Dated: May 11, 2012
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     DEAC_Signature-END:
                                                       CHIEF UNITED STATES DISTRICT JUDGE
26
     0m8i788
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     EX PARTE APPLICATION TO MODIFY CONDITIONS OF              -1-
     PRE-TRIAL RELEASE

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